                                                                               SIGNED.


                                                                               Dated: October 23, 2018


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    2                                                                        _________________________________
                                                                             Paul Sala, Bankruptcy Judge
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    4
    5                           N THE UN TED STATES BANKRUPTCY COURT
    6                                   FOR THE D STR CT OF AR ONA
    7
    8                                                        Chapter 13
          n Re                                               Case No. 2:16-bk-08714-PS
10            Joe A. Delgado and Frances                     (Rel. Dkt    27
              M. Delgado
11                                  Debtor (s
12
13                                                           ORDER SETT NG PREL M NARY
              Partners for Payment Relief DE II              HEAR NG ON MOT ON FOR REL EF
14
              LLC                                            FROM THE AUTOMAT C STAY AND
                                                             ESTABL SH NG PROCEDURES FOR
15                                                           PRESENTAT ON OF E DENCE AT
                                         Movant (s           F NAL HEAR NG
16
         v.
17            Joe A. Delgado and Frances M.
              Delgado, Debtors; Edward J.
18            Maney, Chapter 13 Trustee; Ocwen
              Loan Servicing, Junior Lienholder;
1
                                      Respondent (s
20
21
22               The Movant having filed a Motion for Relief from Stay (the “Motion        in the

23      above-captioned proceeding and an objection thereto having been filed

24                   S ORDERED H

25               1. The provisions of Local Bankruptcy Rule 4001-1 (Local Order No. 67 shall apply to

26      all further proceedings on the Motion, except as modified by this order.

27               2. Unless otherwise ordered by the Court, the provisions of Rule 26(a (1 , (d , (e (1 , (f ,

28      and (g (1 , Federal Rules of Civil Procedure (as amended 1       3 , otherwise made applicable to



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    1   this proceeding by Rules of Bankruptcy Procedure 014 and 7026, shall not apply to further
    2   proceedings on the Motion. To the extent necessary, the timing of the disclosures required under
    3   Rule 26(a (2 or 26(a (3 shall be accelerated to comply with Local Bankruptcy Rule 4001-1
    4   (Local Order No. 67 or this Order.
    5             3. A preliminary hearing on the Motion for Relief from the Stay shall be held on
        November 27, 2018 at 1:30 p.m.                                               th
    6                                    at 2 0 N   rst     nu C urtr       m 01          l   r   h n
    7    r    n      500 . The Court will either resolve the Motion at that hearing or set a final hearing. A
    8   preliminary calendar contemplates a hearing of no more than 5 minutes, with no more than 15
        minutes devoted to any one matter. f Movant or Movant s counsel requires more time on a
10      matter, or believes that because of the number of parties involved or the complexity of the
11      factual and/or legal issues involved that more time is necessary, Movant or Movant s counsel
12      must contact the Courtroom Deputy and obtain a hearing date and time to be noticed out to
13      interested parties. The respondent shall appear personally or by counsel at all hearings for relief
14      from stay.
15                4. At least three (3 days prior to the preliminary hearing the parties must file and serve
16      declarations or affidavits to support their respective positions. FA LURE TO F LE THESE
17      DECLARAT ONS MAY AFFECT THE COURT S RUL NG ON TH S MATTER, E THER
18      SUMMAR LY GRANT NG OR DENY NG THE REL EF REQUESTED.
1                 5. At the preliminary hearing, the Movant must present a prima facie case that the
20      automatic stay should be vacated. An affidavit or declaration may be utili ed for such purposes.
21                6. At the preliminary hearing, the objecting party must present evidence that “there is
22      reasonable likelihood that the party opposing the relief from such stay will prevail at the
23      conclusion of the final hearing. 11 U.S.C. 362(e . An affidavit or declaration may be
24      sufficient for such purposes.
25                7. f the Court concludes, at the preliminary hearing or pursuant to the stipulation of the
26      parties, that a final hearing must be conducted in this matter, the parties shall advise the Court,
27      after personal consultation,
28                       (a whether the final hearing shall be conducted as oral argument or as an



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    1                  evidentiary hearing
    2                  (b if the final hearing is to be presented as oral argument, the proposed briefing
    3                  schedule
    4                  (c if the final hearing is to be conducted as an evidentiary hearing, whether
    5                         (i any discovery must be conducted and the proposed procedure and time
    6                         deadlines to accomplish same
    7                         (ii a joint pretrial order is to be filed, and the proposed date to file same
    8                         and/or
                              (iii the parties intend simply to file and serve a list of witnesses and
10                            exhibits and exchange all exhibits one week prior to the final hearing (See
11                            Local Bankruptcy Rule 4001 (       .
12             8. f the parties stipulate to a final hearing only being conducted on this matter, the
13      parties shall present a form of order vacating the preliminary hearing (if necessary and
14      requesting that the automatic stay remain in place pending further order of the Court.
15              . The Court concludes, on this preliminary record, that since the Movant determines
16      when the preliminary hearing shall be set on this Court s calendar, if the Movant does not
17      schedule a preliminary hearing within thirty (30 days from the date of the filing of the Motion,
18      the Movant has waived the requirement of 11 U.S.C.       362(e .
1              10. f the Movant does schedule a preliminary hearing, the automatic stay shall remain in
20      place at least pending the conclusion of the preliminary hearing.
21             11. f the procedure outlined herein is not followed by a party, it may result in the
22      imposition of sanctions which may include summarily granting or denying the relief requested.
23             12. Movant shall provide notice of this order to all interested parties and file a certificate
24      of service thereon pursuant to Bankruptcy Rule 013-1(j (C .
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26      S GNED AND DATED ABO E
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